Case 16-00401               Doc 23-2 Filed 04/26/17 Entered 04/26/17 15:08:57                                             Desc Proposed
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